                               UNITED STATES DISTRICT COURT
                      . FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     EASTERN DNISION
                                     No.   4:it--Ul-3u--ui0(3)
        UNITED STATES OF AMERICA                       )
                                                       )
                 V.                                    )
                                                       )       INDICTMENT
        WARREN REED                                    )


        The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

       At all times material to this Indictment:

        1.       Caledonia Correctional Institution ("Caledonia") is a prison located in Halifax,

North Carolina, and is part of the North Carolina Department of Corrections ("DOC"). DOC falls

under the umbrella of the North Carolina Department of Public Safety ("DPS").

        2.       DPS policies prohibit employees from engaging in certain conduct, including:

                 a.      Making gifts or performing personal services for inmates;

                 b.      Conversing with inmates via telephones;

                 c.      Selling or giving inmates any intoxicating drink, barbiturate or stimulant

       drug, or narcotic;

                 d.      Giving inmates tobacco or mobile cellular devices; and

                 e.      Possessing, using, or distributing tobacco products, paraphernalia, or

       lighting devices while on the grounds of a facility.

DPS policies further provide that "[i]f an employee is contacted by the family or close associates

of an inmate, the employee will report this fact to his superior at the earliest practicable time."




             Case 4:21-cr-00036-BO Document 5 Filed 05/11/21 Page 1 of 4
        3.       Defendant WARREN REED was a Correctional Officer working at Caledonia,

where his responsibilities included supervising inmates .and ensuring a safe, secure prison

operation. By virtue of his position at Caledonia, REED was a DPS employee and public official.

REED used his position to take official acts and act in violation of his lawful duty by smuggling

contraband into Caledonia in exchange for payments from inmates and their associates.

                                         COUNT ONE
                            (Extortion Under Color of Official Right)

        4.       Paragraphs 1 through 3 are re-alleged and incorporated herein by reference.

        5.       On or about January 30, 2019, in the Eastern District of North Carolina and

elsewhere, the defendant, WARREN REED, did knowingly and unlawfully obstruct, delay, and

affect in a'.ny way and degree interstate commerce and the movement of articl~s and commodities

in commerce by extortion under color of official right, and did attempt to do so, as those terms are

defined in Title 18, United States Code, Section 1951, that is, in return for smuggling contraband

into Caledonia, specifically plaGebo pills that REED believed to contain oxycodone, REED

obtained property, a monetary payment, not due him or his office, from another person, with their

consent, under color of official right.

       All in violation of Title 18, United States Code, Section 1951(a).

                                        COUNT TWO
                         (Attempted Possession with Intent to Distribute)

       6.        Paragraphs 1 through 3 are re-alleged and incorporated herein by reference.

       7.        On or about January 30, 2019, in the Eastern District of North Carolina and

elsewhere, the defendant, WARREN REED, did knowingly and intentionally attempt to possess

with the intent to distribute a quantity of oxycodone, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(l) and 846.



                                                 2


             Case 4:21-cr-00036-BO Document 5 Filed 05/11/21 Page 2 of 4
                                  NOTICE OF FORFEITURE
                (18 U.S.C. § 981(a)(l)(C); 21 U.S.C. § 853(a); 28 U.S.C. § 2461(c))

        8.       The allegations of this Indictment are re-alleged and incorporated herein for the

purpose of alleging forfeitures to the United States of America pursuant to Title 18, United States

Code, Section 981(a)(l)(C); Title 21, United States Code, Section 853(a); and Title 28, United

States Code, Section 2461(c).

        9.       Pursuant to Federal Rule of Criminal Procedure 32.2(a), the United States gives

notice to the defendant, WARREN REED, that upon conviction of any of the offenses charged in

this Indictment, any property, real or personal, which constitutes or is derived from proceeds

traceable to such offense, shall be forfeited to the United States.

        10.      The defendant, WARREN REED, is notified that upon conviction, a money

judgment may be imposed equal to the total value of the property subject to forfeiture in the

approximate value that each gained from the offenses of conviction.

        11.      The defendant, WARREN REED, is notified that in the event that property subject

to forfeiture, as a result of any act or omission of the defendant,

        (a) cannot be located upon the exercise of due diligence;


       (b) has been transferred or sold to, or deposited with, a third party;


       (c) has been placed beyond the jurisdiction of the court;


       (d) has been substantially diminished in value; or


       (e) has been commingled with other property that cannot be divided without difficulty,




                                                  3


             Case 4:21-cr-00036-BO Document 5 Filed 05/11/21 Page 3 of 4
it is the intent of the United States to seek forfeiture of any other property of the defendant up to

the total value of such property described above, pursuant to Title 21, United States Code, Section

853(p), incorporated by reference in Title 28, United States Code, Section 2461(c).



                                                               A TRUE BILTL.- - - - - ' - - - -
                                                        ~-----~---   ../J~-   -·:




     COREY R. AMUNDSON
     Chief
     Public Integrity Section
     Criminal Division
     U.S. Department of Justice



B Y ~
                                                      LAURENE. BRITSCH
     Trial Attorney                                   Trial Attorney




                                                 4


         Case 4:21-cr-00036-BO Document 5 Filed 05/11/21 Page 4 of 4
